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                                                      USA Commercial Mortgage Company, et al.
                                                              Company Administration
                                                       April 13, 2006 through March 12, 2007


Name                          Date    Description                                                                   Hours    Rate        Fees
April 13, 2006 through April 30, 2006
Allison, Tom               04/14/06   Management duties of the CEO/CRO.                                              5.5    $ 650.00 $          3,575.00
Allison, Tom               04/14/06   Preparation for SEC meeting with M. Pugsley (RQN) and M. Kehl                  0.9      650.00              585.00
                                      (MFIM).
Allison, Tom               04/14/06   Participate in meeting with SEC to provide update on USA Capital and           1.6      650.00            1,040.00
                                      bankruptcy filings.
Kehl, Monty                04/14/06   Prepare for SEC meeting with M. Pugsley (RQN) and T. Allison (MFIM).           0.9      620.00             558.00

Kehl, Monty                04/14/06   Participate in meeting with SEC to provide update on USA Capital and           1.6      620.00             992.00
                                      bankruptcy filings.
Reed, James                04/14/06   Meet with former Company management J. Milanowski (formerly                    1.5      430.00             645.00
                                      USACM) to discuss equity interests in borrowers held by related entities.

Allison, Tom               04/17/06   Management duties of the CEO/CRO.                                              4.1      650.00            2,665.00
Allison, Tom               04/17/06   Meet to discuss employee issues with J. Milanowski and A. Jarvis (RQN).        0.4      650.00              260.00

Allison, Tom               04/17/06   Discussion of hearing with MFIM staff.                                         0.8      650.00             520.00
Allison, Tom               04/17/06   Outline operational and collection issues needing attention with A. Jarvis     0.2      650.00             130.00
                                      (RQN).
Smith, Susan               04/17/06   Discussion of hearing with MFIM staff.                                         0.8      590.00             472.00
Allison, Tom               04/18/06   Calls and meetings with counsel to prepare for visits from SEC and state of    0.9      650.00             585.00
                                      Nevada Mortgage Loan division.
Allison, Tom               04/18/06   Participate in meeting with USACM management to discuss court hearing,         1.1      650.00             715.00
                                      payroll issues.
Allison, Tom               04/18/06   Management duties of the CEO/CRO.                                              7.4      650.00            4,810.00
Kehl, Monty                04/18/06   Calls and meetings with counsel to prepare for visits from SEC and state of    0.9      620.00              558.00
                                      Nevada Mortgage Loan division.
Kehl, Monty                04/18/06   Supervise the gathering and organizing of materials in preparation for SEC     2.6      620.00            1,612.00
                                      and state of Nevada visits.
Kehl, Monty                04/18/06   Calls with D&O insurance carrier to discuss the coverage of Company            0.8      620.00             496.00
                                      personnel on policy.
Smith, Susan               04/18/06   Participate in meeting with USACM management to discuss court hearing,         1.1      590.00             649.00
                                      payroll issues.
Smith, Susan               04/18/06   Discussions with R. Hilson and A. Siddiqui (both USACM) regarding              1.2      590.00             708.00
                                      payroll issues, banking requirements and information requirements.

Steele, Sarah              04/18/06   Assist M. Olson (USACM) regarding public relations and coordination with       0.8      430.00             344.00
                                      BMC.
Allison, Tom               04/19/06   Participate in planning meeting with counsel and M. Olson (USACM) in           1.6      650.00            1,040.00
                                      preparation for visits from SEC and state of Nevada MLD.

Allison, Tom               04/19/06   Meet with SEC Staff and M. Pugsley (RQN) regarding forensic accounting         0.6      650.00             390.00
                                      efforts.
Allison, Tom               04/19/06   Management duties of the CEO/CRO.                                              7.2      650.00            4,680.00
Kehl, Monty                04/19/06   Review information collected for SEC with M. Pugsley (RQN).                    0.7      620.00              434.00
Kehl, Monty                04/19/06   Participate in planning meeting with counsel and M. Olson (USACM) in           1.6      620.00              992.00
                                      preparation for visits from SEC and state of Nevada MLD.

Smith, Susan               04/19/06   Coordinate between Wells Fargo, R. Hilson (USACM), and attorneys to            1.4      590.00             826.00
                                      obtain the proper authorization to transmit funds for payroll.

Smith, Susan               04/19/06   Meet with SEC staff and R. Hilson (USACM) and M. Pugsley (RQN)                 0.9      590.00             531.00
                                      regarding USACM's accounting systems and procedures.
Smith, Susan               04/19/06   Meet with SEC Staff and M. Pugsley (RQN) regarding forensic accounting         0.6      590.00             354.00
                                      efforts.
Smith, Susan               04/19/06   Coordinate between Wells Fargo, R. Hilson (USACM), and attorneys to            1.2      590.00             708.00
                                      obtain the proper authorization to transmit funds for payroll.

Allison, Tom               04/20/06   Management duties of the CEO/CRO.                                              9.0      650.00            5,850.00
Oriti, Joseph              04/20/06   Analyze and amend USA Commercial Mortgage Company Organization                 1.4      330.00              462.00
                                      Diagram.
Smith, Susan               04/20/06   Coordinate between Wells Fargo, R. Hilson (USACM), and attorneys to            0.9      590.00             531.00
                                      transmit funds for payroll.
Allison, Tom               04/21/06   Met with T. Barry, A. Stevens (both USACM); J. McPherson (Schwartzer           3.0      650.00            1,950.00
                                      & McPherson); and J. Reed (MFIM) for review of loan portfolio.

Allison, Tom               04/21/06   Meet with Nevada state Mortgage Lending Department, J. Reed (MFIM) to          2.0      650.00            1,300.00
                                      discuss condition of loan portfolio and methodology behind 13-week cash
                                      forecast.
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                                                    USA Commercial Mortgage Company, et al.
                                                            Company Administration
                                                     April 13, 2006 through March 12, 2007


Name                       Date      Description                                                                   Hours    Rate          Fees
Allison, Tom              04/21/06   Meet with Company management to discuss issues including moving into           2.0      650.00              1,300.00
                                     one building, bad loans, collateralizing AP from USA Investment Partners,
                                     rejectable leases, DIP bank accounts, unfunded loans and Company
                                     retirement plan.
Allison, Tom              04/21/06   Management duties of the CEO/CRO.                                              2.4      650.00              1,560.00
Reed, James               04/21/06   Meet with Company management to discuss issues including moving into           2.0      430.00                860.00
                                     one building, bad loans, collateralizing AP from USA Investment Partners,
                                     rejectable leases, DIP bank accounts, unfunded loans and Company
                                     retirement plan.
Smith, Susan              04/21/06   Discuss banking issues with R. Hilson and L. Weese (both USACM).               0.2      590.00               118.00

Smith, Susan              04/21/06   Research banks on U.S. Trustee's list, search for contacts, call with Wells    0.9      590.00               531.00
                                     Fargo on DIP issues.
Allison, Tom              04/24/06   Management duties of the CEO/CRO.                                              8.7      650.00              5,655.00
Kehl, Monty               04/24/06   Discuss and receive documentation necessary to add Company personnel to        0.5      620.00                310.00
                                     D&O insurance policy.
Smith, Susan              04/24/06   Call with L. Schwartzer (Schwartzer & McPherson) regarding banks. Call         0.4      590.00               236.00
                                     Bank of America contacts regarding DIP accounts, discuss banks with R.
                                     Hilson (USACM).
Smith, Susan              04/24/06   Call with Candace Carlyon (Shea) regarding Wells Fargo.                        0.2      590.00                118.00
Allison, Tom              04/25/06   Management duties of the CEO/CRO.                                              6.0      650.00              3,900.00
Kehl, Monty               04/25/06   Schedule and participate in call with insurance contact to provide             0.8      620.00                496.00
                                     opportunity for Company's officers to ask questions regarding coverage.

Smith, Susan              04/25/06   Call with J. Cooper (Wells Fargo) regarding DIP banking requirements.          0.3      590.00               177.00

Smith, Susan              04/25/06   Call with B. Woodruff and A. Scott (both Bank of America) regarding DIP        0.7      590.00               413.00
                                     banking requirements.
Smith, Susan              04/25/06   Review forms sent by Bank of America, research and send Petitions, Orders      0.4      590.00               236.00
                                     and other requested information.
Smith, Susan              04/25/06   Discuss banking issues with R. Hilson and L. Weese (both USACM).               0.3      590.00               177.00

Smith, Susan              04/25/06   Review draft banking profiles, edit and transmit to Bank of America for        0.8      590.00               472.00
                                     DIP accounts.
Smith, Susan              04/25/06   Research and provide additional motions, board authorizations and other        0.7      590.00               413.00
                                     relevant information to Bank of America for set up of DIP accounts.

Allison, Tom              04/26/06   Management duties of the CEO/CRO.                                              9.2      650.00              5,980.00
Smith, Susan              04/26/06   Calls with B. Woodruff (BofA) regarding banking issues and additional          1.5      590.00                885.00
                                     information.
Smith, Susan              04/26/06   Call with S. Eckhardt (NMLD) regarding motions to be heard on May 3.           0.4      590.00               236.00

Allison, Tom              04/27/06   Management duties of the CEO/CRO.                                              8.4      650.00              5,460.00
Smith, Susan              04/27/06   Discuss banking issues with R. Hilson and L. Weese (both USACM).               0.6      590.00                354.00

Allison, Tom              04/28/06   Management duties of the CEO/CRO.                                              10.5     650.00              6,825.00
Smith, Susan              04/28/06   Review form letters for T. Allison's (MFIM) signature regarding moving         0.6      590.00                354.00
                                     funds to DIP accounts and provide comment and edits.
                                                                          Total Company Administration             125.7              $     79,033.00



May 1, 2006 through May 31, 2006
Allison, Tom              05/01/06   Management duties of the CEO/CRO.                                              0.1    $ 650.00 $               65.00
Allison, Tom              05/02/06   Management duties of the CEO/CRO.                                              6.4      650.00              4,160.00
Smith, Susan              05/02/06   Discussions with R. Hilson (USACM) regarding payroll and banking               0.3      590.00                177.00
                                     issues, issues with Wells Fargo to transfer funds to DIP accounts.

Smith, Susan              05/02/06   Call to C. Carlyon (Shea) regarding Wells Fargo.                               0.2      590.00                118.00
Allison, Tom              05/03/06   Management duties of the CEO/CRO.                                              5.4      650.00              3,510.00
Allison, Tom              05/04/06   Management duties of the CEO/CRO.                                              9.7      650.00              6,305.00
Allison, Tom              05/04/06   Participate in meeting with management from the Estate.                        1.1      650.00                715.00
Kehl, Monty               05/04/06   Communication with counsel regarding payment of post-petition invoices.        1.3      620.00                806.00

Kehl, Monty               05/04/06   Discuss separation of IT functions between debtor and non-debtor entities      0.3      620.00               186.00
                                     with CIO.
Kehl, Monty               05/04/06   Participate in meeting with management from the Estate.                        1.1      620.00               682.00
Allison, Tom              05/05/06   Correspondence and telephone call to A. Jarvis (RQN) regarding employee        0.1      650.00                65.00
                                     issues.
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                                              USA Commercial Mortgage Company, et al.
                                                      Company Administration
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Name                Date      Description                                                                   Hours   Rate     Fees
Kehl, Monty        05/05/06   Participate in meeting with R. Hilson, M. Olson and F. Siddiqui (all           1.6    620.00           992.00
                              USACM) to plan for separation of debtor entities from USA Investment
                              Partners.
Kehl, Monty        05/05/06   Initiate documentation of results of meeting for separation of debtors from    0.4    620.00           248.00
                              Investment Partners.
Allison, Tom       05/08/06   Management duties of the CEO/CRO.                                              3.7    650.00          2,405.00
Allison, Tom       05/08/06   Review claims trading activity with A. Jarvis (RQN) and L. Schwartzer          0.3    650.00            195.00
                              (Schwartzer & McPherson).
Kehl, Monty        05/08/06   Document notes from weekly Investment Partners separation meeting &            1.4    620.00           868.00
                              distribute.
Kehl, Monty        05/08/06   Discuss and plan service fee calculation with R. Hilson (USACM).               0.8    620.00           496.00
Kehl, Monty        05/08/06   Analyze several disbursement requests; discuss with counsel.                   0.6    620.00           372.00
Reed, James        05/08/06   Meet with Company IT to evaluate feasibility of implementation of change       1.0    430.00           430.00
                              to service fee calculation.
Smith, Susan       05/08/06   Discuss accounting staffing and operations with R. Hilson (USACM).             0.7    590.00           413.00

Smith, Susan       05/08/06   Discuss staffing and operational issues with M. Olson (USACM).                 0.5    590.00           295.00
Smith, Susan       05/08/06   Research Defined Benefit plan and respond to querys regarding same.            0.8    590.00           472.00

Allison, Tom       05/09/06   Participate in meeting with Nevada Mortgage Lending Division.                  1.4    650.00           910.00
Allison, Tom       05/09/06   Discuss an asset owned by USA Investment Partners, Royal Hotel, with A.        0.1    650.00            65.00
                              Jarvis (RQN).
Kehl, Monty        05/09/06   Participate in meeting with Nevada Mortgage Lending Division.                  1.4    620.00           868.00
Kehl, Monty        05/09/06   Assist M. Olson (USACM) to research and answer questions received from         1.2    620.00           744.00
                              Nevada MLD.
Kehl, Monty        05/09/06   Calls and e-mails to discuss status of pledge agreement.                       1.4    620.00           868.00
Allison, Tom       05/10/06   Correspondence with A. Jarvis (RQN) regarding investor fund issues.            0.5    650.00           325.00

Allison, Tom       05/10/06   Management duties of the CEO/CRO.                                              2.1    650.00          1,365.00
Kehl, Monty        05/10/06   Participate in teleconference with counsel to update on case issues.           1.7    620.00          1,054.00
Kehl, Monty        05/10/06   Discuss and development calculation method for Service Fee with MFIM           1.4    620.00            868.00
                              and R. Hilson (USACM).
Kehl, Monty        05/10/06   Review several newspaper articles relating to USA bankruptcy to confirm        0.8    620.00           496.00
                              accuracy of facts.
Reed, James        05/10/06   Meet with R. Hilson and M. Olson (both USACM) to discuss regular               2.0    430.00           860.00
                              budget meeting and exchange of information related to disbursements and
                              receipts.
Smith, Susan       05/10/06   Meet with R. Hilson (USACM) regarding transition of functions from             0.4    590.00           236.00
                              personnel leaving the firm.
Smith, Susan       05/10/06   Meet with R. Hilson and V. Ferner (both USACM) regarding loan servicing        1.2    590.00           708.00
                              function and transition of duties.
Smith, Susan       05/10/06   Discuss IRS request from L. Schwartzer (Schwartzer & McPherson) with           0.9    590.00           531.00
                              R. Hilson (USACM), research form 945, discuss 945 requirements with V.
                              Loob (USACM).
Allison, Tom       05/11/06   Participate in meeting with management from the Estate.                        1.1    650.00           715.00
Allison, Tom       05/11/06   Management duties of the CEO/CRO.                                              0.3    650.00           195.00
Kehl, Monty        05/11/06   Participate in meeting with management from the Estate.                        1.1    620.00           682.00
Reed, James        05/11/06   Compare Creditor Committee lists with investor lists.                          1.0    430.00           430.00
Kehl, Monty        05/12/06   Participate in team meeting to plan separation of Investment Partners from     1.2    620.00           744.00
                              the Estate.
Kehl, Monty        05/12/06   Document notes from weekly Investment Partners separation meeting              0.6    620.00           372.00

Allison, Tom       05/15/06   Management duties of the CEO/CRO.                                              10.1   650.00          6,565.00
Smith, Susan       05/15/06   Discussion with M. Olson (USACM) regarding staffing.                           0.3    590.00            177.00
Smith, Susan       05/15/06   Attend management meeting to discuss loan ledgers and loan servicing after     1.1    590.00            649.00
                              completion of ledgers.
Allison, Tom       05/16/06   Management duties of the CEO/CRO.                                              8.1    650.00          5,265.00
Allison, Tom       05/17/06   Management duties of the CEO/CRO.                                              2.6    650.00          1,690.00
Kehl, Monty        05/17/06   Study draft of Transition Services Agreement and send to RQN.                  0.9    620.00            558.00
Allison, Tom       05/18/06   Participate in meeting with RQN, M. Kehl (MFIM) and M. Olson                   1.5    650.00            975.00
                              (USACM) to discuss results of hearing.
Allison, Tom       05/18/06   Management duties of the CEO/CRO.                                              2.2    650.00          1,430.00
Allison, Tom       05/18/06   Meet with Company management to discuss Court hearing.                         0.9    650.00            585.00
Kehl, Monty        05/18/06   Participate in meeting with RQN, T. Allison (MFIM) and M. Olson                1.5    620.00            930.00
                              (USACM) to discuss results of hearing.
Smith, Susan       05/18/06   Meet with Company management to discuss Court hearing.                         0.9    590.00           531.00
Allison, Tom       05/19/06   Attend USA management meeting.                                                 1.4    650.00           910.00
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                                                      USA Commercial Mortgage Company, et al.
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Name                        Date      Description                                                                    Hours    Rate          Fees
Allison, Tom               05/19/06   Compose e-mail correspondence regarding status of USA Investment                0.3      650.00               195.00
                                      Partners security agreement with A. Jarvis (RQN).
Allison, Tom               05/19/06   Management duties of the CEO/CRO.                                               8.3      650.00              5,395.00
Kehl, Monty                05/19/06   Attend USA management meeting.                                                  1.4      620.00                868.00
Smith, Susan               05/19/06   Meet with Company management.                                                   1.1      590.00                649.00
Kehl, Monty                05/22/06   Meet with R. Hilson (USACM) to discuss staffing support at USA.                 0.3      620.00                186.00
Kehl, Monty                05/22/06   Participate in meeting with team to discuss Investment Partners separation      0.6      620.00                372.00
                                      plan.
Kehl, Monty                05/22/06   Participate in meetings and phone calls with T. Barry (USACM) and D.            0.7      620.00               434.00
                                      Monson (RQN) on partial collateral releases.
Kehl, Monty                05/22/06   Analysis to calculate and fund monthly management fee for Diversified           1.3      620.00               806.00
                                      Trust.
Smith, Susan               05/22/06   Research and provide documents on the pension plan for attorneys to             0.8      590.00               472.00
                                      forward and discuss with PBGC.
Allison, Tom               05/23/06   Participate in meeting with the Official Committees for First Deed Trust        1.3      650.00               845.00
                                      and Diversified Trust (50% allocation).
Allison, Tom               05/23/06   Participate in meeting with the Official Committees for First Deed Trust        1.3      650.00               845.00
                                      and Diversified Trust (50% allocation).
Allison, Tom               05/23/06   Management duties of the CEO/CRO.                                               2.2      650.00              1,430.00
Kehl, Monty                05/23/06   Participate in meeting with the Official Committees for First Deed Trust        1.3      620.00                806.00
                                      and Diversified Trust (50% allocation).
Kehl, Monty                05/23/06   Participate in meeting with the Official Committees for First Deed Trust        1.3      620.00               806.00
                                      and Diversified Trust (50 % allocation).
Kehl, Monty                05/24/06   Collect and deliver 2005 financial statements to CM Committee member.           0.6      620.00               372.00

Kehl, Monty                05/24/06   Calls with lenders regarding portfolio purchase.                                0.7      620.00               434.00
Kehl, Monty                05/24/06   Call with D. Monson (RQN) to discuss partial release of collateral.             0.4      620.00               248.00
Smith, Susan               05/24/06   Discussion with M. Levy (Retirement Planning) regarding defined benefit         0.7      590.00               413.00
                                      plan, payment for prior services and PBGC issues.
Kehl, Monty                05/25/06   Discussions with lenders regarding portfolio purchase.                          3.1      620.00              1,922.00
Allison, Tom               05/30/06   Management duties of the CEO/CRO.                                               9.1      650.00              5,915.00
Allison, Tom               05/31/06   Provide insights and revisions on press releases and regulatory issues to M.    0.4      650.00                260.00
                                      Pugsley and A. Jarvis (both RQN).
Allison, Tom               05/31/06   Review meeting held with J. Milanowski for A. Jarvis (RQN).                     0.3      650.00                195.00
Allison, Tom               05/31/06   Management duties of the CEO/CRO.                                               5.1      650.00              3,315.00
Smith, Susan               05/31/06   Discuss Defined Benefit Plan with K. Anderson (RQN).                            0.7      590.00                413.00
                                                                            Total Company Administration             134.4              $     84,872.00



June 1, 2006 through June 30, 2006
Allison, Tom               06/01/06   Management duties of the CEO/CRO.                                               7.4    $ 650.00 $            4,810.00
Kehl, Monty                06/01/06   Participate in meeting with Investor.                                           1.1      620.00                682.00
Allison, Tom               06/02/06   Management duties of the CEO/CRO.                                               6.4      650.00              4,160.00
Allison, Tom               06/03/06   Management duties of the CEO/CRO.                                               0.2      650.00                130.00
Allison, Tom               06/04/06   Management duties of the CEO/CRO.                                               3.3      650.00              2,145.00
Allison, Tom               06/05/06   Outline strategic options with A. Jarvis (RQN) and A. Steven (USACM)            0.2      650.00                130.00
                                      regarding Investment Partners security agreement negotiations.

Allison, Tom               06/05/06   Conduct meeting with J. Milanowski and A. Jarvis (RQN) regarding                0.8      650.00               520.00
                                      Investment Partners security agreement.
Allison, Tom               06/05/06   Attend management meeting.                                                      0.7      650.00                455.00
Kehl, Monty                06/05/06   Attend management meeting.                                                      0.7      620.00                434.00
Allison, Tom               06/06/06   Management duties of the CEO/CRO.                                               9.8      650.00              6,370.00
Allison, Tom               06/07/06   Management duties of the CEO/CRO.                                               4.0      650.00              2,600.00
Kehl, Monty                06/07/06   Participate in call with S. Tingey (RQN) to discuss transition services         0.9      620.00                558.00
                                      agreement.
Allison, Tom               06/08/06   Management duties of the CEO/CRO.                                               4.0      650.00              2,600.00
Kehl, Monty                06/12/06   Review and provide comments for statement and press release for T.              1.2      620.00                744.00
                                      Allison (MFIM).
Allison, Tom               06/13/06   Management duties of the CEO/CRO.                                               2.8      650.00              1,820.00
Kehl, Monty                06/13/06   Discussions with USA Investment Partners regarding sale of interests in         0.7      620.00                434.00
                                      Oak Valley.
Allison, Tom               06/14/06   Management duties of the CEO/CRO.                                               9.3      650.00              6,045.00
Allison, Tom               06/16/06   Management duties of the CEO/CRO.                                               5.5      650.00              3,575.00
Allison, Tom               06/19/06   Management duties of the CEO/CRO.                                               9.7      650.00              6,305.00
Reed, James                06/19/06   Review unfunded loan requirements with Company management.                      2.0      430.00                860.00
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                                                       USA Commercial Mortgage Company, et al.
                                                               Company Administration
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Name                         Date      Description                                                                     Hours    Rate          Fees
Allison, Tom                06/20/06   Management duties of the CEO/CRO.                                                6.6      650.00              4,290.00
Allison, Tom                06/21/06   Meet with A. Jarvis (RQN) to discuss results of court hearing and impact on      1.0      650.00                650.00
                                       business needs.
Allison, Tom                06/21/06   Management duties of the CEO/CRO.                                                0.1      650.00                 65.00
Reed, James                 06/21/06   Review results of Court rulings and develop strategy changes as a result.        2.5      430.00              1,075.00

Allison, Tom                06/22/06   Participate in meeting with USA management team to discuss results of            1.1      650.00               715.00
                                       6/21 hearing.
Allison, Tom                06/22/06   Management duties of the CEO/CRO.                                                1.6      650.00              1,040.00
Kehl, Monty                 06/22/06   Participate in meeting with USA management team to discuss results of            1.1      620.00                682.00
                                       6/21 hearing.
Allison, Tom                06/23/06   Participate in call with financial advisors for First Trust Deed Committee to    1.1      650.00               715.00
                                       discuss non-performing loans.
Allison, Tom                06/23/06   Management duties of the CEO/CRO.                                                6.1      650.00              3,965.00
Kehl, Monty                 06/23/06   Participate in call with direct investor regarding funds contained in            0.4      620.00                248.00
                                       Investors account.
Kehl, Monty                 06/23/06   Participate in meeting with M. Olson (USACM) to discuss press                    0.4      620.00               248.00
                                       release/communications.
Allison, Tom                06/28/06   Management duties of the CEO/CRO.                                                6.7      650.00              4,355.00
Allison, Tom                06/29/06   Review case options with M. Kehl, S. Smith (both MFIM) and RQN.                  1.1      650.00                715.00
Allison, Tom                06/29/06   Management duties of the CEO/CRO.                                                2.9      650.00              1,885.00
Kehl, Monty                 06/29/06   Review case options with T. Allison, S. Smith (both MFIM) and RQN.               1.1      620.00                682.00

Reed, James                 06/29/06   Prepare liquidation analysis template.                                           2.0      430.00               860.00
                                                                                Total Company Administration           106.5              $     67,567.00



July 1, 2006 through July 31, 2006
Allison, Tom                07/10/06   Management duties of the CEO/CRO.                                                2.7    $ 650.00   $          1,755.00
Nugent, James               07/10/06   Participate in call with S. Strong (RQN) regarding various case matters          0.2      620.00                124.00
                                       including appraisals, bidders, cash flow matters, and Committee issues.

Nugent, James               07/10/06   Participate in call with A. Jarvis (RQN) to discuss creditor issues and          1.0      620.00               620.00
                                       modify presentation to Committee.
Allison, Tom                07/11/06   Management duties of the CEO/CRO.                                                0.5      650.00               325.00
Nugent, James               07/11/06   Meet with A. Jarvis (RQN) to discuss creditor issues and requests,               1.5      620.00               930.00
                                       negotiations to receive pay-off from borrowers, and other case matters.

Allison, Tom                07/12/06   Management duties of the CEO/CRO.                                                2.5      650.00              1,625.00
Allison, Tom                07/18/06   Participate in conference call with M. Pugsley to discuss information from       0.9      650.00                585.00
                                       Investment Partners.
Allison, Tom                07/19/06   Participate in meeting with J. Atkinson (MFIM) and J. Milanowski                 2.4      650.00              1,560.00
                                       (formerly USACM) to discuss Investment Partners collateral.
Allison, Tom                07/20/06   Participate in follow-up meeting with L. Dean (SEC) to discuss support           2.6      650.00              1,690.00
                                       information collected by MFIM.
Allison, Tom                07/21/06   Participate in meeting with J. Milanowski (formerly USACM).                      2.2      650.00              1,430.00
Allison, Tom                07/26/06   Meet with S. Smith (MFIM) and J. Milanowski (formerly USACM).                    0.4      650.00                260.00
Smith, Susan                07/26/06   Meet with T. Allison (MFIM) and J. Milanowski (formerly USACM).                  0.4      590.00                236.00
Atkinson, James             07/31/06   Attend conference call with counsel.                                             1.5      650.00                975.00
                                                                                Total Company Administration           18.8               $     12,115.00



August 1, 2006 through August 31, 2006
Steele, Sarah               08/01/06   Review pension plan issues and give instruction to J. Oriti (MFIM).              0.9    $ 430.00 $             387.00
Allison, Tom                08/02/06   Meet with S. Smith (MFIM) regarding Company business rules.                      0.5      650.00               325.00
Smith, Susan                08/02/06   Meet with T. Allison (MFIM) regarding Company business rules.                    0.5      590.00               295.00
Smith, Susan                08/02/06   Review loans to be sent Default Notices with A. Stevens (USACM) and              0.9      590.00               531.00
                                       review form of notice.
Smith, Susan                08/14/06   Meet with J. Wise (Red Granite).                                                 0.8      590.00               472.00
Atkinson, James             08/15/06   Participate in conference call with Debtors' counsel to discuss pension plan     0.8      650.00               520.00
                                       matters.
Atkinson, James             08/15/06   Participate in conference call with and M. Levy (Retirement Planning Co.)        0.7      650.00               455.00
                                       to discuss funding and valuation matters regarding the Debtors' pension
                                       plans.
Atkinson, James             08/15/06   Review pension plan memorandum and statements for 2003 and 2004.                 2.2      650.00              1,430.00
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                                                     USA Commercial Mortgage Company, et al.
                                                             Company Administration
                                                      April 13, 2006 through March 12, 2007


Name                       Date      Description                                                                     Hours    Rate          Fees
Haftl, Michael            08/15/06   Review pension plan documentation and motions prepared by RQN.                   2.2      530.00              1,166.00
Haftl, Michael            08/15/06   Analyze pension plan investments and activity from inception to present.         2.9      530.00              1,537.00

Kehl, Monty               08/15/06   Correspond with M. Stone (USACM) regarding authorized signatures for             0.8      620.00               496.00
                                     various documents.
Smith, Susan              08/15/06   Meet with M. Puglsey (RQN) regarding SEC document request.                       0.2      590.00               118.00
Steele, Sarah             08/15/06   Review data regarding pension plan.                                              1.2      430.00               516.00
Haftl, Michael            08/16/06   Discuss pension plan history and activity with management.                       0.8      530.00               424.00
Haftl, Michael            08/16/06   Research pension plan investments based on request from counsel and              1.1      530.00               583.00
                                     PBGC.
Haftl, Michael            08/16/06   Organize and review pension plan documentation.                                  2.2      530.00              1,166.00
Steele, Sarah             08/16/06   Investigate Marquis, B & J, pension plan.                                        2.2      430.00                946.00
Atkinson, James           08/17/06   Analysis of pension plan investment statements for 2004.                         1.1      650.00                715.00
Haftl, Michael            08/18/06   Analyze payments made to pension plan.                                           1.8      530.00                954.00
Haftl, Michael            08/18/06   Review updated pension documents provided by management.                         0.5      530.00                265.00
Smith, Susan              08/18/06   Review and comment on pension documentation for removal of old                   0.4      590.00               236.00
                                     Trustees and freezing of plan.
Smith, Susan              08/18/06   Participate in call with staff to arrange for Unsecured Creditors Committee      0.2      590.00               118.00
                                     to copy loan reconstruction binders.
Atkinson, James           08/21/06   Discussion with M. Olson (USACM) regarding pension and document                  0.6      650.00               390.00
                                     production matters.
Atkinson, James           08/22/06   Analyze pension plan brokerage statements for 2004 and 2005.                     0.6      650.00               390.00
Haftl, Michael            08/22/06   Review pension plan documentation and motions prepared by RQN.                   0.8      530.00               424.00
Astik, Jigar              08/23/06   Analyze pensions information per documents provided from Oakwood                 3.7      240.00               888.00
                                     Capital.
Astik, Jigar              08/23/06   Analyze employee participation in pension plan for pension analysis.             2.8      240.00               672.00

Astik, Jigar              08/23/06   Analyze Charles Schwab documents for pension analysis.                           3.5      240.00               840.00
Haftl, Michael            08/23/06   Review analysis of pension plan performance.                                     0.8      530.00               424.00
Haftl, Michael            08/23/06   Review updated pension analyses prepared by J. Astik (MFIM).                     0.7      530.00               371.00
Haftl, Michael            08/23/06   Review current list of employees and their participation in the pension plan.    0.4      530.00               212.00

Haftl, Michael            08/23/06   Review list of investments held by pension plan.                                 0.5      530.00               265.00
Oriti, Joseph             08/23/06   Analyze and amend Pension Benefit Plan participating employees list with         2.3      330.00               759.00
                                     addresses
Astik, Jigar              08/24/06   Analyze volatility of pension balance for pension analysis.                      4.0      240.00               960.00
Astik, Jigar              08/24/06   Prepare memorandum analyzing pension plan statistics and data.                   3.5      240.00               840.00
Atkinson, James           08/24/06   Participate in conference call with Debtors' counsel to discuss matters          1.2      650.00               780.00
                                     relating to pension matters.
Haftl, Michael            08/24/06   Discussions with counsel regarding status of the pension plan.                   1.1      530.00               583.00
Atkinson, James           08/25/06   Participate in call with MFIM counsel regarding pension matters.                 1.0      650.00               650.00
Atkinson, James           08/25/06   Participate in conference call with Debtors' counsel and MFIM counsel            1.0      650.00               650.00
                                     regarding pension matters.
Haftl, Michael            08/31/06   Review list of pension plan participants.                                        0.3      530.00               159.00
Oriti, Joseph             08/31/06   Analyze and amend Pension Benefit Plan participating employees list with         2.3      330.00               759.00
                                     addresses
                                                                           Total Company Administration              56.0               $     24,671.00



September 1, 2006 through September 30, 2006
Atkinson, James           09/01/06   Review of motion to freeze pension plan.                                         1.2    $ 650.00 $             780.00
Smith, Susan              09/01/06   Respond to M. Pugsley (RQN) requests on behalf of the SEC investigation.         0.3      590.00               177.00

Smith, Susan              09/05/06   Review information for posting on website.                                       0.2      590.00               118.00
Atkinson, James           09/11/06   Participate in conference call with M. Levy (Retirement Planning Co.) and        0.8      650.00               520.00
                                     M. Haftl (MFIM) regarding pension matters.
Haftl, Michael            09/11/06   Participate in conference call with M. Levy (Retirement Planning Co.) and        0.8      530.00               424.00
                                     J. Atkinson (MFIM) regarding pension matters.
Smith, Susan              09/11/06   Meet with M. Olson (USACM) regarding noticing issues and investor                0.3      590.00               177.00
                                     inquiries.
Haftl, Michael            09/12/06   Coordinate pension issues with K. Applegate (RQN) and M. Levy                    0.4      530.00               212.00
                                     (Retirement Planning Co.).
Allison, Tom              09/13/06   Attend meeting with Debtors' counsel, J. Atkinson (MFIM), J. Milanowski          0.4      650.00               260.00
                                     (formerly USACM) and his counsel regarding pension matters.
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                                              USA Commercial Mortgage Company, et al.
                                                      Company Administration
                                               April 13, 2006 through March 12, 2007


Name                 Date      Description                                                                 Hours   Rate     Fees
Astik, Jigar        09/13/06   Analyze current employees and participation in pension plan.                 2.8    240.00           672.00
Atkinson, James     09/13/06   Attend conference call with M. Levy (Retirement Planning Co.), Debtors'      1.4    650.00           910.00
                               counsel and M. Haftl (MFIM) regarding pension matters.
Atkinson, James     09/13/06   Attend meeting with Debtors' counsel, T. Allison (MFIM), J. Milanowski       0.4    650.00           260.00
                               (formerly USACM) and his counsel regarding pension matters.

Haftl, Michael      09/13/06   Attend conference call with M. Levy (Retirement Planning Co.), Debtors'      1.4    530.00           742.00
                               counsel and J. Atkinson (MFIM) regarding pension matters.

Haftl, Michael      09/13/06   Review updated pension plan documents received from K. Applegate             0.9    530.00           477.00
                               (RQN).
Oriti, Joseph       09/13/06   Analyze The Official Committee of Equity Security Holders of USA             0.5    330.00           165.00
                               Capital First Trust Deed Fund's First Interim Application for
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Stutman, Treister, & Glatt P.C. First Interim Application for        0.7    330.00           231.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expenses
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Alvarez & Marsal First Interim Application for Reimbursement of      0.8    330.00           264.00
                               Fees & Expense for Professionals' Fee & Expense Analysis.

Oriti, Joseph       09/13/06   Analyze Gordon & Silver, LTD First Interim Application for                   0.6    330.00           198.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Beckley & Singleton Chtd. First Interim Application for              0.7    330.00           231.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Orrick, Herrington, & Sutcliffe LLP First Interim Application for    0.8    330.00           264.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Lewis & Roca LLP First Interim Application for Reimbursement         0.7    330.00           231.00
                               of Fees & Expense for Professionals' Fee & Expense Analysis.

Oriti, Joseph       09/13/06   Analyze Shea & Carolyn, LTD First Interim Application for                    0.7    330.00           231.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Oriti, Joseph       09/13/06   Analyze Law Office of David Huston First Interim Application for             0.5    330.00           165.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Astik, Jigar        09/14/06   Prepare and produce pension documentation for distribution to related        1.8    240.00           432.00
                               parties.
Haftl, Michael      09/14/06   Review pension plan and employee compensation analysis.                      1.3    530.00           689.00
Haftl, Michael      09/14/06   Compile list of active pension plan participants.                            0.4    530.00           212.00
Haftl, Michael      09/14/06   Coordinate freezing of pension plan.                                         1.4    530.00           742.00
Haftl, Michael      09/14/06   Coordinate compilation of pension documents per PBGC request.                0.7    530.00           371.00
Oriti, Joseph       09/14/06   Analyze MFIM, LLC First Interim Application for Reimbursement of Fees        2.1    330.00           693.00
                               & Expense for Professionals' Fee & Expense Analysis.
Oriti, Joseph       09/14/06   Analyze and amend Professionals' Fees & Expense Analysis.                    2.1    330.00            693.00
Oriti, Joseph       09/14/06   Analyze Ray Quinney & Nebeker First Interim Application for                  3.3    330.00          1,089.00
                               Reimbursement of Fees & Expense for Professionals' Fee & Expense
                               Analysis.
Smith, Susan        09/15/06   Analyze spreadsheet on professional fees by Debtor.                          0.4    590.00           236.00
Oriti, Joseph       09/18/06   Analyze and amend Professionals' Fees & Expense Analysis to reflect 80%      2.3    330.00           759.00
                               of fees and 100% of Expenses for Cash Budget Model.
Smith, Susan        09/18/06   Request information to reply to Nevada State Employment Comm on USA          0.2    590.00           118.00
                               Securities.
Smith, Susan        09/18/06   Analyze issues with the Royal Hotel database.                                0.3    590.00           177.00
Smith, Susan        09/18/06   Analyze issues with Investment Partners document requests.                   0.2    590.00           118.00
Smith, Susan        09/18/06   Provide list of ordinary course professionals required.                      0.3    590.00           177.00
Smith, Susan        09/19/06   Research issue with Royal Hotel database and consult with E. Monson          0.4    590.00           236.00
                               (RQN) on turnover of information.
Allison, Tom        09/20/06   Attend meeting with M. Olson and R. Hilson (both USACM) and J.               0.4    650.00           260.00
                               Atkinson (MFIM) regarding employment matters.
Atkinson, James     09/20/06   Attend meeting with M. Olson and R. Hilson (both USACM) and T.               0.4    650.00           260.00
                               Allison (MFIM) regarding employment matters.
Haftl, Michael      09/20/06   Coordinate pension plan call with K. Applegate (RQN) and employees.          0.6    530.00           318.00

Smith, Susan        09/20/06   Discuss with M. Olson (USACM) and S. Strong, M. Blue (both RQN)              0.8    590.00           472.00
                               regarding personnel issues.
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                                                      USA Commercial Mortgage Company, et al.
                                                              Company Administration
                                                       April 13, 2006 through March 12, 2007


Name                        Date      Description                                                                    Hours    Rate          Fees
Vidal, Adriana             09/20/06   Review and reconcile summary of professional fees & expenses filed in the       0.9      490.00               441.00
                                      first fee application for Gordon & Silver, Ltd.
Vidal, Adriana             09/20/06   Review and reconcile summary of professional fees & expenses filed in the       0.7      490.00               343.00
                                      first fee application for Lewis and Roca, LLP.
Vidal, Adriana             09/20/06   Review and reconcile summary of professional fees & expenses filed in the       1.6      490.00               784.00
                                      first fee application for Mesirow Financial Interim Management, LLC.

Vidal, Adriana             09/20/06   Review and reconcile summary of professional fees & expenses filed in the       2.4      490.00              1,176.00
                                      first fee application for Ray Quinney & Nebeker P.C.
Smith, Susan               09/21/06   Prepare draft of FAQ's for POA and POI's.                                       0.6      590.00               354.00
Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       1.1      490.00               539.00
                                      first fee application for Schwartzer & McPherson Law Firm.

Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       0.6      490.00               294.00
                                      first fee application for The Law Office of David Huston, P.C.

Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       0.7      490.00               343.00
                                      first fee application for Alvarez & Marsal, LLC.
Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       0.8      490.00               392.00
                                      first fee application for Shea & Carolyn LTD.
Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       1.1      490.00               539.00
                                      first fee application for Stutman Treister & Glatt, P.C.
Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       0.4      490.00               196.00
                                      first fee application for USA Capital First Trust Deed Fund Committee.

Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       2.1      490.00              1,029.00
                                      first fee applications inclusive of the Lewis and Roca objection and
                                      Potential Trustee fee and expenses objections.
Vidal, Adriana             09/21/06   Review and reconcile summary of professional fees & expenses filed in the       1.3      490.00               637.00
                                      first fee applications inclusive of the maximum fees & expenses, net of
                                      holdback and the minimum fees & expenses, net of holdback.

Smith, Susan               09/22/06   Research and discuss issues with transfer of Royal Hotel database, unpaid       0.4      590.00               236.00
                                      invoice and Investment Partners issues.
Smith, Susan               09/22/06   Review and edit draft of FAQ's on POA's and POI's for posting on website.       0.3      590.00               177.00

McClellan, Christian       09/23/06   Analyze Professional Fee and Expenses with Effects of Objections.               1.2      190.00               228.00
Smith, Susan               09/25/06   Review FAQ's on POC's and POI's for posting.                                    0.4      590.00               236.00
Smith, Susan               09/26/06   Review issues with consulting agreements with former or soon to be former       0.4      590.00               236.00
                                      employees.
Allison, Tom               09/27/06   Review with S. Smith (MFIM) regarding personnel issues, Investment              0.7      650.00               455.00
                                      Partners collection issues, Plan issues and reporting.
Smith, Susan               09/27/06   Review with T. Allison (MFIM) regarding personnel issues, Investment            0.7      590.00               413.00
                                      Partners collection issues, Plan issues and reporting.
Smith, Susan               09/27/06   Review and discuss RQN fee application allocation and impact on estates.        0.7      590.00               413.00

Smith, Susan               09/27/06   Discussion regarding First Trust Deed Fund fees heldback from Interim           0.4      590.00               236.00
                                      Distributions.
Atkinson, James            09/28/06   Participate in meeting with M. Olson (USACM) regarding E&O insurance            0.4      650.00               260.00
                                      coverage.
Atkinson, James            09/28/06   Review of documents related to E&O insurance policy.                            0.4      650.00               260.00
Haftl, Michael             09/28/06   Research existence of 401(k) plan.                                              0.3      530.00               159.00
Smith, Susan               09/28/06   Review Board Resolutions for appointment of new COO.                            0.3      590.00               177.00
Haftl, Michael             09/29/06   Review Company Errors and Omissions Insurance policy.                           0.3      530.00               159.00
Smith, Susan               09/29/06   Participate in calls with B. Sanders (Royal Hotel) regarding the transfer of    0.2      590.00               118.00
                                      the accounting database.
Smith, Susan               09/29/06   Correspond with RQN regarding the transfer of the accounting database and       0.3      590.00               177.00
                                      past due amounts owing.
Smith, Susan               09/29/06   Reply to requests for information on payroll issues.                            0.6      590.00               354.00
Smith, Susan               09/29/06   Prepare information on fee applications by all professionals for COO to         0.4      590.00               236.00
                                      furnish to press and post on website.
                                                                           Total Company Administration              59.4               $     27,358.00



October 1, 2006 through October 31, 2006
Smith, Susan               10/02/06   Review Resolutions of Board for banking signatures and COO.                     0.3    $ 590.00 $             177.00
Allison, Tom               10/09/06   Participate in call with Debtors' Counsel, M. Pugsley, J. Atkinson (MFIM)       1.1      650.00               715.00
                                      regarding SEC investigation and subpoenas.
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                                                    USA Commercial Mortgage Company, et al.
                                                            Company Administration
                                                     April 13, 2006 through March 12, 2007


Name                       Date     Description                                                                   Hours   Rate          Fees
Allison, Tom             10/09/06   Participate in call with Debtors' Counsel, J. Atkinson and S. Smith (both      1.1     650.00               715.00
                                    MFIM) and MFIM Counsel regarding draft orders to pay First Interim Fee
                                    Applications.
Atkinson, James          10/09/06   Participate in call with Debtors' Counsel, M. Pugsley, T. Allison (MFIM)       1.1     650.00               715.00
                                    regarding SEC investigation and subpoenas.
Atkinson, James          10/09/06   Participate in call with Debtors' Counsel, T. Allison and S. Smith (both       1.1     650.00               715.00
                                    MFIM) and MFIM Counsel regarding draft orders to pay First Interim Fee
                                    Applications.
Atkinson, James          10/09/06   Attend conference call with Debtors' Counsel and Counsel for Committees'       0.4     650.00               260.00
                                    regarding First Interim Fee Application Orders.
McClellan, Christian     10/09/06   Update professional fee and expense model to reflect updated applications.     3.9     190.00               741.00

McClellan, Christian     10/09/06   Create analysis of projected debtor professional fee and expenses.             3.4     190.00               646.00
Oriti, Joseph            10/09/06   Gather and analyze loan payoff Statements and correspondence sent to           2.1     330.00               693.00
                                    Borrowers.
Smith, Susan             10/09/06   Participate in call with Debtors' Counsel, T. Allison and J. Atkinson (both    1.1     590.00               649.00
                                    MFIM) and MFIM Counsel regarding draft orders to pay First Interim Fee
                                    Applications.
Haftl, Michael           10/11/06   Review pension plan motion.                                                    0.3     530.00               159.00
McClellan, Christian     10/11/06   Update professional fee and expense model to reflect updated applications.     1.8     190.00               342.00

Reed, James              10/11/06   Review professional fee allocation method.                                     2.0     430.00               860.00
Haftl, Michael           10/12/06   Review pension motion.                                                         0.3     530.00               159.00
Haftl, Michael           10/12/06   Review letter from RQN to PBGC dated 9/28/06.                                  0.2     530.00               106.00
McClellan, Christian     10/12/06   Update professional fee and expense model to reflect orders.                   3.9     190.00               741.00
Haftl, Michael           10/13/06   Review status of Hilco invoice.                                                0.2     530.00               106.00
Smith, Susan             10/16/06   Research Beadle McBride invoice history. Call to G. McBride regarding          0.9     590.00               531.00
                                    post-petition work.
Haftl, Michael           10/17/06   Update A. Stevens (USACM) work flow document.                                  0.4     530.00               212.00
Smith, Susan             10/18/06   Review and comment on cooperation agreements.                                  0.5     590.00               295.00
Reed, James              10/19/06   Review and update analysis related to allocation of professional fees.         1.5     430.00               645.00

Reed, James              10/20/06   Review cash flow analysis with respect to allocation of professional fees.     2.2     430.00               946.00

McClellan, Christian     10/23/06   Solicit First Trust Deed Fund fee breakdown from Debtors Counsel.              2.1     190.00               399.00
McClellan, Christian     10/23/06   Solicit First Trust Deed Fund fee information from First Trust Deed Fund       1.9     190.00               361.00
                                    Counsel and FAs.
Smith, Susan             10/23/06   Request and process W-9's for payment file.                                    0.2     590.00               118.00
Allison, Tom             10/24/06   Participate in meeting with R. Koe (MFIM) regarding current status of          0.5     650.00               325.00
                                    Company.
Koe, Robert              10/24/06   Participate in meeting with T. Allison (MFIM) regarding current status of      0.5     650.00               325.00
                                    Company.
Koe, Robert              10/24/06   Review bankruptcy and new accounts and records.                                1.5     650.00               975.00
McClellan, Christian     10/24/06   Update First Trust Deed Fund holdback and fee payment schedule.                3.7     190.00               703.00
Smith, Susan             10/24/06   Provide BMC with information regarding Loan Summary and statements.            0.3     590.00               177.00

Allison, Tom             10/25/06   Meet with employees.                                                           2.0     650.00              1,300.00
Haftl, Michael           10/25/06   Review and analyze First Trust Deed Fund fee applications for all              1.1     530.00                583.00
                                    professionals for use in calculating holdback percentages.
Koe, Robert              10/25/06   Review over bankruptcy organization of Company.                                1.5     650.00               975.00
McClellan, Christian     10/25/06   Update First Trust Deed Fund holdback and fee payment schedule.                2.1     190.00               399.00
Smith, Susan             10/25/06   Organize fee requests and request schedule.                                    0.3     590.00               177.00
Smith, Susan             10/25/06   Review and organize fee statements and W-9's.                                  0.4     590.00               236.00
Smith, Susan             10/25/06   Attend meeting with Company to discuss Employee Retention Plan.                0.7     590.00               413.00
McClellan, Christian     10/26/06   Update First Trust Deed Fund holdback and fee payment schedule.                3.9     190.00               741.00
McClellan, Christian     10/27/06   Update professional fee and expense model to reflect updated applications.     2.3     190.00               437.00

Allison, Tom             10/30/06   Meet with A. Jarvis ( RQN) regarding SEC meeting.                              2.0     650.00              1,300.00
Allison, Tom             10/30/06   Attend meeting with SEC.                                                       4.0     650.00              2,600.00
Reed, James              10/30/06   Review and update fee allocation analysis.                                     1.0     430.00                430.00
McClellan, Christian     10/31/06   Update professional fee and expense model to reflect updated applications.     2.2     190.00                418.00

                                                                          Total Company Administration            64.0              $     24,520.00



November 1, 2006 through November 30, 2006
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                                                     USA Commercial Mortgage Company, et al.
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                                                      April 13, 2006 through March 12, 2007


Name                       Date      Description                                                                      Hours    Rate          Fees
Haftl, Michael            11/01/06   Review E&O insurance documentation.                                               0.4    $ 530.00 $             212.00
Haftl, Michael            11/01/06   Review status of Hilco payment.                                                   0.2      530.00               106.00
Smith, Susan              11/01/06   Answer questions regarding accounts payable.                                      0.3      590.00               177.00
Haftl, Michael            11/04/06   Review correspondence on 1099 tax issues.                                         0.6      530.00               318.00
Smith, Susan              11/13/06   Discuss hearing, personnel and company issues with M. Olson (USACM).              0.2      590.00               118.00

Allison, Tom              11/14/06   Review current status of conversion of loan data to iTrack and report             2.4      650.00              1,560.00
                                     production.
Haftl, Michael            11/14/06   Review status of pension issues.                                                  0.4      530.00                212.00
Smith, Susan              11/14/06   Review fees and send instructions for payment.                                    0.7      590.00                413.00
Smith, Susan              11/15/06   Meet with SEC counsel.                                                            3.1      590.00              1,829.00
Haftl, Michael            11/16/06   Discuss pension status related to PBGC.                                           0.1      530.00                 53.00
Smith, Susan              11/16/06   Prepare instructions for account payable to pay professionals.                    0.7      590.00                413.00
Smith, Susan              11/16/06   Review fee statements and available cash balance, prepare report for              1.1      590.00                649.00
                                     payment of professional fees for A/P.
Atkinson, James           11/21/06   Review memorandum regarding status of on-going or pending litigation.             2.1      650.00              1,365.00

Haftl, Michael            11/21/06   Review Call to Action letter.                                                     0.3      530.00               159.00
Haftl, Michael            11/21/06   Participate in Committee call regarding D. Cangelosi email.                       0.9      530.00               477.00
Reed, James               11/21/06   Collection of information and call with RQN related to investigations of          1.2      430.00               516.00
                                     former management.
Haftl, Michael            11/22/06   Coordinate payment of pension plan invoice.                                       0.2      530.00               106.00
Allison, Tom              11/28/06   Participate in conference call with S. Smith (MFIM) and A. Jarvis (RQN)           1.3      650.00               845.00
                                     regarding Court hearing, borrower issues and confirmation issues.

Allison, Tom              11/28/06   Review current status of prepaid interest analysis.                               0.6      650.00               390.00
Smith, Susan              11/28/06   Review and edit contract file for assumption.                                     0.9      590.00               531.00
Smith, Susan              11/28/06   Participate in conference call with T. Allison (MFIM) and A. Jarvis (RQN)         1.3      590.00               767.00
                                     regarding Court hearing, borrower issues and confirmation issues.

McClellan, Christian      11/29/06   Create Comprehensive Fee & Expense Balance of payments analysis.                  3.9      190.00               741.00

McClellan, Christian      11/29/06   Update Comprehensive Fee & Expense Balance of payments analysis with              3.5      190.00               665.00
                                     previous payments to First Trust Deed Fund professionals.

McClellan, Christian      11/29/06   Update Comprehensive Fee & Expense Balance of payments analysis with              3.1      190.00               589.00
                                     previous payments to USA Commercial Mortgage professionals.

Smith, Susan              11/29/06   Review professional fee file and request missing information.                     0.3      590.00                177.00
Allison, Tom              11/30/06   Participate in conference call with SEC, M. Pugsley (RQN) and S. Smith            2.2      650.00              1,430.00
                                     (MFIM).
McClellan, Christian      11/30/06   Update Comprehensive Fee & Expense Balance of payments analysis.                  3.7      190.00               703.00

Smith, Susan              11/30/06   Participate in conference call with SEC, M. Pugsley (RQN) and T. Allison          2.2      590.00              1,298.00
                                     (MFIM).
                                                                           Total Company Administration               37.9               $     16,819.00



December 1, 2006 through December 31, 2006
Allison, Tom              12/01/06   Prepare for and participate in meeting with L. Dean (SEC) and A. Jarvis           4.0      650.00 $            2,600.00
                                     (RQN) regarding SEC investigation issues.
McClellan, Christian      12/01/06   Update professional fee and expense schedule.                                     3.5      190.00               665.00
Smith, Susan              12/01/06   Review analysis of professional fees for missing statements, totals by entity.    0.5      590.00               295.00
                                     Request missing information.
Smith, Susan              12/01/06   Participate in call with RQN and MFIM regarding workflow planning.                1.2      590.00               708.00

McClellan, Christian      12/05/06   Update professional fee and expense schedule.                                     1.8      190.00                342.00
Allison, Tom              12/06/06   Participate in meeting with C. Pleasant (FBI).                                    2.2      650.00              1,430.00
Allison, Tom              12/06/06   Participate in meeting with government officials, J. Atkinson and B. Koe          2.7      650.00              1,755.00
                                     (both MFIM) regarding USA Capital matters.
Atkinson, James           12/06/06   Participate in meeting with government officials, T. Allison and B. Koe           2.7      650.00              1,755.00
                                     (both MFIM) regarding USA Capital matters.
Koe, Robert               12/06/06   Participate in meeting with government officials, J. Atkinson and T. Allison      2.7      650.00              1,755.00
                                     (both MFIM) regarding USA Capital matters.
Smith, Susan              12/06/06   Review file and provide information to S. Bice (NVMLD).                           0.3      590.00               177.00
Smith, Susan              12/06/06   Review Liquidating Trust document for Company and MFIM involvement.               0.5      590.00               295.00
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                                                      USA Commercial Mortgage Company, et al.
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                                                       April 13, 2006 through March 12, 2007


Name                        Date      Description                                                                   Hours    Rate          Fees
Allison, Tom               12/08/06   Participate in meeting with entire USA staff, R. Koe (MFIM) explaining         0.5      650.00               325.00
                                      effects on USA Commercial Mortgage with Compass winning the bid.

Atkinson, James            12/08/06   Prepare draft press release regarding results of Auction process.              1.4      650.00               910.00
Cheng, Patrick             12/08/06   Coordinate assembly of documents and financial information requested by        0.6      560.00               336.00
                                      the regulators.
Koe, Robert                12/08/06   Participate in meeting with entire USA staff, T. Allison (MFIM) explaining     0.5      650.00               325.00
                                      effects on USA Commercial Mortgage with Compass winning the bid.

Smith, Susan               12/08/06   Participate in call with BMC on balloting.                                     0.9      590.00                531.00
Allison, Tom               12/12/06   Review transition items and transition procedure.                              2.4      650.00              1,560.00
Allison, Tom               12/13/06   Participate in meeting with A. Stevens and M. Olson (all USACM).               2.3      650.00              1,495.00
Allison, Tom               12/14/06   Review status of transition plan and responsibilities for relevant staff.      2.3      650.00              1,495.00

Allison, Tom               12/14/06   Participate in meeting with SEC officials, J. Milanowski and his counsel       3.4      650.00              2,210.00
                                      and J. Atkinson and B. Koe (both MFIM) regarding USA Investment
                                      Partners.
Atkinson, James            12/14/06   Participate in meeting with SEC officials, J. Milanowski and his counsel       3.4      650.00              2,210.00
                                      and T. Allison and B. Koe (both MFIM) regarding USA Investment
                                      Partners.
Koe, Robert                12/14/06   Participate in meeting with enforcement division of SEC in preparation of      0.8      650.00               520.00
                                      meeting with J. Milanowski (formerly USACM) that will follow.

Koe, Robert                12/14/06   Participate in meeting with SEC, J. Milanowski (formerly USACM) and            3.4      650.00              2,210.00
                                      his attorneys and Milanowski's explanation of status of multiple
                                      transactions.
Allison, Tom               12/15/06   Review results of status conference and develop action plan going forward.     2.0      650.00              1,300.00

McClellan, Christian       12/18/06   Update professional fee and expense schedule.                                  2.7      190.00                513.00
Allison, Tom               12/20/06   Review staffing requirements and workstreams for transition related issues.    2.1      650.00              1,365.00

Allison, Tom               12/20/06   Participate in meeting with Debtors' counsel, government officials, J.         2.2      650.00              1,430.00
                                      Atkinson (MFIM) and MFIM counsel regarding USA Capital matters.

Allison, Tom               12/20/06   Meet with SEC; S. Smith and J. Atkinson (both MFIM); and N. Peterman           1.2      650.00               780.00
                                      (GT).
Atkinson, James            12/20/06   Participate in meeting with Debtors' counsel, government officials, T.         2.2      650.00              1,430.00
                                      Allison (MFIM) and MFIM counsel regarding USA Capital matters.

Atkinson, James            12/20/06   Meet with SEC; S. Smith and T. Allison (both MFIM); and N. Peterman            1.2      650.00               780.00
                                      (GT).
Cadwell, Kristin           12/20/06   Prepare December distribution of checks and statements for investors.          2.4      190.00               456.00

Smith, Susan               12/20/06   Meet with SEC; T. Allison and J. Atkinson (both MFIM); and N. Peterman         1.2      590.00               708.00
                                      (GT).
Allison, Tom               12/21/06   Participate in call with T. Burr (Sierra) and G. Berman (DSI) regarding        0.7      650.00               455.00
                                      transition issues.
Cadwell, Kristin           12/21/06   Prepare December distribution of checks and statements for investors.          3.8      190.00               722.00

Smith, Susan               12/21/06   Participate in call with T. Burr (Sierra) and G. Berman (DSI) regarding        0.7      590.00               413.00
                                      transition issues.
Smith, Susan               12/21/06   Meet with F. Siddiqui and L. Weese (both USACM) on transition planning         0.5      590.00               295.00
                                      issues.
Smith, Susan               12/21/06   Transition plan workstreams and staffing for implementation of Plan.           0.6      590.00               354.00

Smith, Susan               12/22/06   Respond to issues with Beadle McBride retention.                               0.4      590.00                236.00
Allison, Tom               12/24/06   Review transition plan and procedure with respect to staffing requirements.    3.0      650.00              1,950.00

McClellan, Christian       12/28/06   Update professional fee and expense schedule.                                  3.8      190.00               722.00
Smith, Susan               12/28/06   Participate in call with C. Harvick (FTI) regarding Beadle McBride             0.3      590.00               177.00
                                      retention.
                                                                             Total Company Administration           75.0               $     39,990.00



January 1, 2007 through January 31, 2007
McClellan, Christian       01/02/07   Update professional fee and expense schedule.                                  1.8    $ 190.00 $             342.00
Smith, Susan               01/02/07   Analyze BMC invoice for November.                                              0.4      590.00               236.00
McClellan, Christian       01/04/07   Update professional fee and expense schedule.                                  3.4      190.00               646.00
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                                                  USA Commercial Mortgage Company, et al.
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Name                    Date      Description                                                                    Hours   Rate      Fees
Smith, Susan           01/04/07   Query A/P regarding payment of actuary bills for pension plan, research         0.2     590.00           118.00
                                  payment by V. Loob (formerly USACM).
Smith, Susan           01/04/07   Participate in conference with S. Strong and K. Applegate (both RQN)            0.3     590.00           177.00
                                  regarding pension plan issues.
Atkinson, James        01/05/07   Review Furniture, Fixture and Equipment schedule.                               1.6     650.00          1,040.00
Smith, Susan           01/05/07   Review issues with professional fee statements.                                 0.6     590.00            354.00
Smith, Susan           01/05/07   Analyze and send instructions for payment of professional fees to A/P.          0.4     590.00            236.00

Smith, Susan           01/05/07   Analyze professional fee statements, U.S. Trustee Objections and                0.8     590.00           472.00
                                  determine need for further information by firm and send requests.
Smith, Susan           01/07/07   Request and provide information on pension plan to K. Applegate (RQN).          0.4     590.00           236.00

McClellan, Christian   01/08/07   Update professional fee and expense schedule.                                   3.1     190.00           589.00
Smith, Susan           01/08/07   Provide instruction to C. McClellan (MFIM) on report and back up for            0.3     590.00           177.00
                                  professional fees.
Allison, Tom           01/09/07   Participate in meeting with Debtors' counsel, government officials, J.          3.1     650.00          2,015.00
                                  Atkinson (MFIM) regarding USA Capital matters
Atkinson, James        01/09/07   Participate in meeting with Debtors' counsel, government officials, T.          3.1     650.00          2,015.00
                                  Allison (MFIM) regarding USA Capital matters
Cheng, Patrick         01/09/07   Begin review of available information in preparation of visit and meeting       1.8     560.00          1,008.00
                                  with government officials.
Cheng, Patrick         01/09/07   Continue reviewing and preparing document requested by the government           3.4     560.00          1,904.00
                                  official's in advance of its visit.
Cheng, Patrick         01/09/07   Continue reviewing and preparing document requested by the government           2.3     560.00          1,288.00
                                  official's in advance of its visit.
Haftl, Michael         01/09/07   Correspond with counsel related to PBGC request.                                0.3     530.00           159.00
Nagle, Peter           01/09/07   Participate in call with G. York (both Mesirow Financial - Information          1.0     620.00           620.00
                                  Technology) and S. Smith (MFIM) regarding IT issues, security and
                                  moving computer equipment.
Reed, James            01/09/07   Prepare information related to regulatory issues.                               1.2     430.00           516.00
Smith, Susan           01/09/07   Assess issues regarding resignation of IT manager.                              0.5     590.00           295.00
Smith, Susan           01/09/07   Participate in call with M. Yoder (AIS) for information on IT staff his firm    0.4     590.00           236.00
                                  can provide.
Smith, Susan           01/09/07   Participate in call with P. Nagle, G. York (both Mesirow Financial -            1.0     590.00           590.00
                                  Information Technology) regarding IT issues, security and moving
                                  computer equipment.
Smith, Susan           01/09/07   Review and forward BMC invoices in response to issues raised by R.              0.3     590.00           177.00
                                  Charles (L&R) and review schedule of invoices and payments.
Smith, Susan           01/09/07   Meet with outside investigators regarding Company documents and issues.         1.4     590.00           826.00

Steele, Sarah          01/09/07   Review presentation for government official.                                    0.9     430.00           387.00
York, Greg             01/09/07   Participate in call with P. Nagle (Mesirow Financial - Information              1.0     490.00           490.00
                                  Technology), S. Smith (both MFIM) regarding IT issues, security and
                                  moving computer equipment.
Atkinson, James        01/10/07   Participate in meeting with G. York and G. Irvin (both Mesirow Financial -      1.5     650.00           975.00
                                  Information Technology) and S. Smith and J. Reed (both MFIM) to discuss
                                  information systems security assessment project.
Atkinson, James        01/10/07   Review information systems security assessment workplan.                        1.0     650.00           650.00
Atkinson, James        01/10/07   Participate in meeting with G. York and G. Irvin (both Mesirow Financial -      0.7     650.00           455.00
                                  Information Technology) and S. Smith (MFIM) to discuss information
                                  transition security issues related to Faisel's resignation as CIO.

Cheng, Patrick         01/10/07   Correspond with M. Pugsley (RQN) relating to the production of                  0.4     560.00           224.00
                                  documents to the government official.
Cheng, Patrick         01/10/07   Review current documents available to be produced to the government             1.4     560.00           784.00
                                  official and coordinate with reproduction vendor (Bridge City) to determine
                                  the procedures.
Irvin, Greg            01/10/07   Meet with M. Yoder (AIS) to discuss options for interim term IT                 0.5     290.00           145.00
                                  maintenance and support.
Irvin, Greg            01/10/07   Meet with S. Smith, J. Reed, J. Atkinson (all MFIM) and G. York                 1.5     290.00           435.00
                                  (Mesirow Financial - Information Technology) to discuss engagement plan
                                  potential issues with departure of Faisal, third party providers, etc.

Irvin, Greg            01/10/07   Meet with G. York (Mesirow Financial - Information Technology), S.              0.7     290.00           203.00
                                  Smith and J. Atkinson (both MFIM) to discuss IT transition issues to
                                  Compass and Trustee.
Reed, James            01/10/07   Review transition issues related to IT.                                         1.5     430.00           645.00
Reed, James            01/10/07   Participate in meeting related to document preservation with IT staff.          1.2     430.00           516.00
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Name                Date      Description                                                                   Hours   Rate      Fees
Reed, James        01/10/07   Meet with S. Smith, J. Atkinson (both MFIM), G. York and G. Irvin (both        1.5     430.00           645.00
                              Mesirow Financial - Information Technology) to discuss engagement plan
                              potential issues with departure of Faisal, third party providers, etc.

Smith, Susan       01/10/07   Meet with G. York and G. Irvin (both Mesirow Financial - Information           1.5     590.00           885.00
                              Technology), J. Reed and J. Atkinson (both MFIM) to discuss resignation
                              of IT Director and steps necessary to secure systems.

Smith, Susan       01/10/07   Meet with G. York, G. Irvin (both Mesirow Financial - Information              0.7     590.00           413.00
                              Technology) and J. Atkinson (MFIM) to discuss IT transition issues to
                              Compass and Trustee.
Smith, Susan       01/10/07   Meet with F. Siddiqui (USACM) to discuss departure, security and IT            0.6     590.00           354.00
                              transition issues.
York, Greg         01/10/07   Meet with G. Irvin (Mesirow Financial - Information Technology), S.            0.7     490.00           343.00
                              Smith and J. Atkinson (both MFIM) to discuss IT transition issues to
                              Compass and Trustee.
York, Greg         01/10/07   Develop engagement plan document.                                              2.8     490.00          1,372.00
York, Greg         01/10/07   Meet with M. Yoder (AIS) to discuss options for interim term IT                0.5     490.00            245.00
                              maintenance and support.
York, Greg         01/10/07   Meet with S. Smith, J. Reed, J. Atkinson (all MFIM) and G. Irvin               1.5     490.00           735.00
                              (Mesirow Financial - Information Technology) to discuss engagement plan
                              potential issues with departure of Faisal, third party providers, etc.

Cheng, Patrick     01/11/07   Coordinate with Bridge City on the reproduction of documents requested by      0.4     560.00           224.00
                              the government official.
Cheng, Patrick     01/11/07   Continue to review additional available information on site to satisfy         2.4     560.00          1,344.00
                              documents requested by the government official.
Delaney, Rosanne   01/11/07   Validate and research current files and data of existing environment,          3.1     590.00          1,829.00
                              including inventory: Hardware, software, contracts, licensing, carrier
                              commitments, etc.
Delaney, Rosanne   01/11/07   Continue to validate and research current files and data of existing           2.9     590.00          1,711.00
                              environment, including inventory: Hardware, software, contracts, licensing,
                              carrier commitments, etc.
Delaney, Rosanne   01/11/07   Meet with M. Yoder (AIS) and G. York (Mesirow Financial - Information          1.0     590.00           590.00
                              Technology) about ongoing project management requirements.

Delaney, Rosanne   01/11/07   Construct an outstanding issues/action item list, update findings document     1.6     590.00           944.00
                              based on previous research.
Delaney, Rosanne   01/11/07   Meet with G. York, G. Irvin (both Mesirow Financial - Information              1.4     590.00           826.00
                              Technology) and S. Smith (MFIM) regarding IT issues for moving and
                              transition.
Irvin, Greg        01/11/07   Assess network and gather information to provide information for security      3.8     290.00          1,102.00
                              report.
Irvin, Greg        01/11/07   Continue to assess network and gather information to provide information       3.1     290.00           899.00
                              for security report.
Irvin, Greg        01/11/07   Meet with G. York, R. Delaney (both Mesirow Financial - Information            1.4     290.00           406.00
                              Technology) and S. Smith (MFIM) regarding IT issues for moving and
                              transition.
Smith, Susan       01/11/07   Meet with M. Yoder (AIS) to discuss IT moving and transition issues.           0.4     590.00           236.00

Smith, Susan       01/11/07   Provide FF&E list and respond to inquiry from J. McPherson (Schwartzer         0.2     590.00           118.00
                              & McPherson).
Smith, Susan       01/11/07   Meet with G. York, G. Irvin and R. Delaney (all Mesirow Financial -            1.4     590.00           826.00
                              Information Technology) regarding IT issues for moving and transition.

York, Greg         01/11/07   Revise Engagement Plan document to reflect results of scan and discussions     1.2     490.00           588.00
                              from 1/10/07.
York, Greg         01/11/07   Meet with M. Yoder (AIS) and R. Delaney (Mesirow Financial -                   1.0     490.00           490.00
                              Information Technology) about ongoing project management requirements.

York, Greg         01/11/07   Assess network and gather information to provide information for security      3.3     490.00          1,617.00
                              report.
York, Greg         01/11/07   Continue to assess network and gather information to provide information       2.6     490.00          1,274.00
                              for security report.
York, Greg         01/11/07   Meet with G. Irvin, R. Delaney (both Mesirow Financial - Information           1.4     490.00           686.00
                              Technology) and S. Smith (MFIM) regarding IT issues for moving and
                              transition.
Cheng, Patrick     01/12/07   Review and compare documents requested by the government official to the       0.7     560.00           392.00
                              portion of documents indexed and documents available on USA Capital's
                              file storage.
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                                                     USA Commercial Mortgage Company, et al.
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Name                        Date     Description                                                                    Hours    Rate          Fees
Cheng, Patrick            01/12/07   Correspond with staff at USA Capital over myriad e-mails and calls in           0.8      560.00               448.00
                                     respect of the production of documents requested by the government
                                     official.
Smith, Susan              01/12/07   Draft letters to security and IT firms to replace IT Director's access.         0.7      590.00               413.00
Cheng, Patrick            01/16/07   Review certain documents that are being requested and produced to the           0.4      560.00               224.00
                                     government official for attorney client privilege exclusion.
Cheng, Patrick            01/16/07   Review updated log related to the documents copied and produced to the          0.2      560.00               112.00
                                     government official.
Smith, Susan              01/16/07   Participate in call with M. Pugsley (RQN) and J. Schlee (USACM)                 0.8      590.00               472.00
                                     regarding email systems.
Allison, Tom              01/17/07   Participate in meeting with J. Atkinson and M. Haftl (both MFIM)                1.1      650.00               715.00
                                     regarding case matters.
Atkinson, James           01/17/07   Participate in meeting with T. Allison and M. Haftl (both MFIM) regarding       1.1      650.00               715.00
                                     case matters.
Haftl, Michael            01/17/07   Participate in meeting with J. Atkinson and T. Allison (both MFIM)              1.1      530.00               583.00
                                     regarding case matters.
Smith, Susan              01/17/07   Edit letter to investor for revised statements.                                 0.6      590.00               354.00
Smith, Susan              01/17/07   Forward fee statements and data and review professional fees analysis.          0.5      590.00               295.00

Smith, Susan              01/17/07   Participate in call with C. Hansworth (NSB) regarding Haspinov mortgage         0.3      590.00               177.00
                                     and appraiser and make arrangements for onsite visit.
Atkinson, James           01/18/07   Review project documentation.                                                   1.1      650.00               715.00
Haftl, Michael            01/18/07   Respond to pension plan requests.                                               0.4      530.00               212.00
Smith, Susan              01/18/07   Meet with M. Yoder, M. Atari, (both AIS) regarding computer                     0.8      590.00               472.00
                                     management.
Smith, Susan              01/18/07   Correspond with M. Pugsley (RQN) and J. Schlee (USACM) regarding                0.3      590.00               177.00
                                     email systems.
Smith, Susan              01/20/07   Review and edit the analysis of professional fees.                              0.6      590.00               354.00
Smith, Susan              01/20/07   Review and edit the analysis of professional fees.                              0.6      590.00               354.00
McClellan, Christian      01/22/07   Update professional fee and expense schedule.                                   2.8      190.00               532.00
McClellan, Christian      01/23/07   Log and distribute documents requested by Investment Partners (J.               2.1      190.00               399.00
                                     Milanowski).
Smith, Susan              01/23/07   Analyze professional fee statement report.                                      0.7      590.00               413.00
Smith, Susan              01/24/07   Analyze and query professionals on Objections and balances on fee               0.9      590.00               531.00
                                     statements to set up for payment.
Smith, Susan              01/24/07   Analyze issues with BMC invoices and allocation.                                0.4      590.00               236.00
McClellan, Christian      01/25/07   Update professional fee and expense schedule.                                   2.9      190.00               551.00
Smith, Susan              01/25/07   Compose e-mail regarding personnel issues to G. Berman (DSI) and M.             0.3      590.00               177.00
                                     Tucker (FTI).
Smith, Susan              01/25/07   Review and edit analysis of MFIM's professional fees paid and unpaid.           0.5      590.00               295.00

Smith, Susan              01/25/07   Review and forward fee statements for analysis.                                 0.3      590.00               177.00
Reed, James               01/29/07   Manage production of presentation related to meeting with investigative         0.5      430.00               215.00
                                     authorities.
Smith, Susan              01/29/07   Review project plan for M. Yoder (AIS) on programming system for                0.7      590.00               413.00
                                     Effective Date.
Reed, James               01/30/07   Create presentation for meeting with government official.                       2.5      430.00              1,075.00
                                                                           Total Company Administration             114.5              $     55,081.00



February 1, 2007 through February 28, 2007
Smith, Susan              02/01/07   Check discrepancy between fee statement and demand letter and send              0.3    $ 590.00 $             177.00
                                     inquiry on issue.
Smith, Susan              02/01/07   Participate in call with S. Strong (RQN) regarding PBGC.                        0.2      590.00               118.00
Steele, Sarah             02/01/07   Review fee applications for D. Huston (sole practitioner).                      1.3      430.00               559.00
Smith, Susan              02/02/07   Review and comment on termination letters.                                      0.3      590.00               177.00
Atkinson, James           02/04/07   Review office lease for Pecos Park office space.                                0.8      650.00               520.00
Smith, Susan              02/05/07   Analyze Retention plan and discuss with S. Strong and M. Blue (both             0.4      590.00               236.00
                                     RQN) for notice and severance pay.
Smith, Susan              02/05/07   Discuss employee termination issues with M. Olson and L. Weese (both            0.4      590.00               236.00
                                     USACM).
Smith, Susan              02/05/07   Reply to employee regarding termination dates and retention plan.               0.1      590.00                59.00
McClellan, Christian      02/06/07   Update professional fee and expense schedule.                                   1.8      190.00               342.00
Smith, Susan              02/06/07   Provide instructions on updating professional fee schedule for distribution.    0.3      590.00               177.00

Tan, Ching Wei            02/06/07   Analyze Gordon & Silver fee application/statements, objections and              0.7      490.00               343.00
                                     payments to date.
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                                                 USA Commercial Mortgage Company, et al.
                                                         Company Administration
                                                  April 13, 2006 through March 12, 2007


Name                    Date      Description                                                                  Hours   Rate      Fees
Tan, Ching Wei         02/06/07   Analyze Lewis and Roca fee application/statements, objections and             0.8     490.00          392.00
                                  payments to date.
Tan, Ching Wei         02/06/07   Analyze Mesirow Financial Interim Management fee                              0.6     490.00          294.00
                                  application/statements, objections and payments to date.
Tan, Ching Wei         02/06/07   Analyze Ray Quinney & Nebeker fee application/statements, objections          0.7     490.00          343.00
                                  and payments to date.
Tan, Ching Wei         02/06/07   Analyze Schwartzer & McPherson fee application/statements, objections         0.6     490.00          294.00
                                  and payments to date.
Tan, Ching Wei         02/06/07   Analyze David Huston fee application/statements, objections and payments      0.6     490.00          294.00
                                  to date.
Tan, Ching Wei         02/06/07   Analyze Sierra Consulting Group fee application/statements, objections and    0.7     490.00          343.00
                                  payments to date.
Tan, Ching Wei         02/06/07   Analyze ECC Committee member expenses and payments to date.                   0.2     490.00           98.00
Tan, Ching Wei         02/06/07   Analyze Beckley Singleton fee application/statements, objections and          0.7     490.00          343.00
                                  payments to date.
Tan, Ching Wei         02/06/07   Analyze Mesirow Financial Interim Management fee                              0.6     490.00          294.00
                                  application/statements, objections and payments to date.
Tan, Ching Wei         02/06/07   Analyze Orrick, Herrington & Sutcliffe professional fees application and      0.8     490.00          392.00
                                  payment to date.
Tan, Ching Wei         02/06/07   Analyze Ray Quinney & Nebeker fee application/statements, objections          0.6     490.00          294.00
                                  and payments to date.
McClellan, Christian   02/07/07   Update professional fee and expense schedule.                                 2.8     190.00          532.00
Smith, Susan           02/07/07   Locate and send additional fee information to update schedule.                0.3     590.00          177.00
Smith, Susan           02/07/07   Review updated professional fee file, research and forward missing            0.4     590.00          236.00
                                  information.
Tan, Ching Wei         02/07/07   Analyze Schwartzer & McPherson fee application/statements, objections         0.5     490.00          245.00
                                  and payments to date.
Tan, Ching Wei         02/07/07   Analyze FTI fee application/statements, objections and payments to date.      0.7     490.00          343.00

Tan, Ching Wei         02/07/07   Analyze Diversified Trust Deed Fund Committee member expenses and             0.2     490.00           98.00
                                  payments to date.
Tan, Ching Wei         02/07/07   Analyze Alvarez & Marsal fee application/statements, objections and           0.7     490.00          343.00
                                  payments to date.
Tan, Ching Wei         02/07/07   Analyze Mesirow Financial Interim Management fee                              0.6     490.00          294.00
                                  application/statements, objections and payments to date.
Tan, Ching Wei         02/07/07   Analyze Ray Quinney & Nebeker fee application/statements, objections          0.6     490.00          294.00
                                  and payments to date.
Tan, Ching Wei         02/07/07   Analyze Schwartzer & McPherson fee application/statements, objections         0.6     490.00          294.00
                                  and payments to date.
Tan, Ching Wei         02/07/07   Analyze Shea & Carlyon fee application/statements, objections and             0.7     490.00          343.00
                                  payments to date.
Tan, Ching Wei         02/07/07   Analyze Stutman Treister & Glatt fee application/statements, objections       0.7     490.00          343.00
                                  and payments to date.
Tan, Ching Wei         02/07/07   Analyze First Trust Deed Fund Committee member expenses and payments          0.2     490.00           98.00
                                  to date.
Tan, Ching Wei         02/07/07   Analyze USA Capital Realty Advisors professional fees application and         0.8     490.00          392.00
                                  payment to date.
Tan, Ching Wei         02/07/07   Analyze USA Securities professional fees application and payment to date.     0.8     490.00          392.00

Smith, Susan           02/08/07   Discuss access to servers with J. Schlee (USACM).                             0.2     590.00          118.00
Smith, Susan           02/09/07   Locate additional information on professional fees for schedule.              0.2     590.00          118.00
Smith, Susan           02/09/07   Review and edit schedule of professional fees due and prepare instructions    0.4     590.00          236.00
                                  for payment.
Tan, Ching Wei         02/09/07   Analyze First Trust Deed Fund professional fee payments against wire          1.9     490.00          931.00
                                  transfer information.
Tan, Ching Wei         02/09/07   Analyze Diversified Trust Deed Fund professional fee payments against         0.7     490.00          343.00
                                  wire transfer information.
Tan, Ching Wei         02/09/07   Analyze USA Commercial Mortgage professional fee payments against             1.1     490.00          539.00
                                  wire transfer information.
Tan, Ching Wei         02/12/07   Update professional fee summary in relation to error in Order approving       1.1     490.00          539.00
                                  Ray Quinney & Nebeker's first fee application.
Atkinson, James        02/13/07   Analyze professional fees incurred and payments schedule.                     0.4     650.00          260.00
Smith, Susan           02/13/07   Review and comment on licensing agreement.                                    0.3     590.00          177.00
Tan, Ching Wei         02/13/07   Analyze Ray Quinney & Nebeker and Sierra Consulting comments on the           0.3     490.00          147.00
                                  professional fee summary.
Tan, Ching Wei         02/14/07   Update professional fees summaries in relation to Ray Quinney & Nebeker       0.6     490.00          294.00
                                  and Sierra Consulting comments.
Tan, Ching Wei         02/15/07   Analyze professional fee schedule prepared by Stutman Treister & Glatt.       0.3     490.00          147.00
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                                                                                                      EXHIBIT E8

                                                                                USA Commercial Mortgage Company, et al.
                                                                                        Company Administration
                                                                                 April 13, 2006 through March 12, 2007


Name                                         Date           Description                                                                  Hours     Rate          Fees
Tan, Ching Wei                             02/15/07         Analyze professional fee payments for Feb-07.                                 0.7       490.00               343.00
Haftl, Michael                             02/16/07         Review various closing and loan related correspondences.                      0.4       530.00               212.00
McClellan, Christian                       02/16/07         Update professional fee and expense schedule - new invoices.                  1.8       190.00               342.00
Tan, Ching Wei                             02/20/07         Update professional fee summary with Gordon Silver's Nov and Dec-06           0.3       490.00               147.00
                                                            invoices.
Haftl, Michael                             02/21/07         Review documents received related to reserve analysis.                        1.2       530.00               636.00
Smith, Susan                               02/21/07         Prepare instructions for the payment of USA Commercial Mortgage               0.3       590.00               177.00
                                                            professional fees.
Haftl, Michael                             02/22/07         Review and organize closing documents.                                        0.2       530.00               106.00
Haftl, Michael                             02/22/07         Research D&O related documents.                                               0.4       530.00               212.00
McClellan, Christian                       02/22/07         Update professional fee and expense schedule - new invoices.                  1.8       190.00               342.00
Fillip, Kasey                              02/23/07         Prepare documents related to client background and organizational             1.1       330.00               363.00
                                                            information.
McClellan, Christian                       02/26/07         Update professional fee and expense schedule - new invoices.                  2.5       190.00               475.00
Smith, Susan                               02/26/07         Review updated professional fee schedule and send M. Tucker (FTI)             0.4       590.00               236.00
                                                            information of Diversified Trust Deed Fund payment requirements.

McClellan, Christian                       02/28/07         Update professional fee and expense schedule - payments made.                 2.7       190.00               513.00
Smith, Susan                               02/28/07         Prepare instructions for the payment of professional fees.                    0.8       590.00               472.00
Smith, Susan                               02/28/07         Coordinate with Compass' movers and computer equipment issues.                0.8       590.00               472.00
Smith, Susan                               02/28/07         Comment and correspond with RQN regarding employment at the request           0.3       590.00               177.00
                                                            of Compass.
                                                                                                          Total Company Administration   47.3                $     19,823.00



March 1, 2007 through March 31, 2007
Allison, Tom                               03/02/07         Reprioritize workstreams based on Court hearing from prior day.               2.9     $ 650.00 $            1,885.00
McClellan, Christian                       03/05/07         Update Professional Fee schedule with newly received invoices.                2.8       190.00                532.00
Smith, Susan                               03/05/07         Arrange for payment of attorneys fees for employees.                          0.3       590.00                177.00
Haftl, Michael                             03/07/07         Coordinate Compass sub-servicing billing process.                             0.4       530.00                212.00
Koe, Robert                                03/07/07         Discuss with J. Reed (MFIM) on USA Commercial Mortgage employees              0.5       650.00                325.00
                                                            that Compass is planning on retaining and which employees will be
                                                            terminated.
Reed, James                                03/07/07         Discuss with R. Koe (MFIM) on USA Commercial Mortgage employees               0.5       430.00               215.00
                                                            that Compass is planning on retaining and which employees will be
                                                            terminated.
Smith, Susan                               03/11/07         Review issues with professional fee schedule for allocation between First     0.7       590.00               413.00
                                                            Trust Deed Fund and USACM.
Allison, Tom                               03/12/07         Coordinate Effective Date activities.                                         1.9       650.00              1,235.00
Smith, Susan                               03/12/07         Prepare instructions for payment of professionals.                            0.6       590.00                354.00
Tan, Ching Wei                             03/12/07         Respond to query on the first payment to Alvaraz and Marsal and Shea &        0.3       490.00                147.00
                                                            Carlyon.
                                                                                                          Total Company Administration   10.9                $      5,495.00


                                                                                                (1)                                                          $     50,000.00
                                                            Estimate of Future Fees


                                                            Total Hours and Fees for Company Administration from                         850.4               $    507,344.00
                                                            April 13, 2006 through March 12, 2007




                                                                                                USA Commercial Mortgage Company            100%              $    507,344.00


1 - Estimate of Future Fees represents time spent reviewing fee applications filed by other professionals in these cases.
